                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA            )                       DOCKET NO. 3:06CR96-W
                                    )
       v.                           )
                                    )                               ORDER
(7) WILLIAM HOGAN                   )
___________________________________ )
___________________________________ )

       Leave of Court is hereby granted for the dismissal of the Second Superseding Bill of

Indictment in the above-captioned case (against William Hogan only) without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service and the United States Attorney's Office.

                                                Signed: June 19, 2007




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